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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                    :
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LINDA GATEAU
                                    :

     v.                             : Civil Action No. DKC 2004–0779

                                    :
BUILDING ONE SERVICE
SOLUTIONS, INC., et al.             :

                            MEMORANDUM OPINION

     Presently pending and ready for resolution in this personal

injury case is the motion of Defendant Building One Service

Solutions, Inc., for leave to file a third-party complaint

against Kmart (paper 62).2          For the reasons that follow, the

court will deny Defendant’s motion.

I.   Background

     This is a slip and fall case arising from Plaintiff’s visit

to the Kmart store in California, Maryland on July 11, 2001.             On

March 18, 2004, Plaintiff filed a complaint against Building One

Service Solutions, Inc., contending that Kmart hired Building

One to clean and wax the floors and that they are responsible

for excess waxy buildups that caused her to fall.                (Paper 1).



     1The complaint was originally filed by Linda Abell. Since
then, Plaintiff’s name changed to Linda Gateau. The caption has
been revised accordingly. (Paper 44).
     2The court will consider the motion of Building One Service
Solutions, Inc. for summary judgment (paper 39), and the motion
of Bohy for summary judgment (paper 42) in a separate opinion.
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On May 3, 2004, Building One filed a third-party complaint

against Bohy Universal Service, Inc.               (Paper 4).   Building One

asserts that it     subcontracted its cleaning and waxing duty to

Bohy and that they are therefore responsible.                On May 7, 2004,

Plaintiff amended her complaint to add Bohy as a defendant.

(Paper 7).

      On March 11, 2005, this court entered a scheduling order in

which it specified, among other things, that all motions for

joinder of additional parties and amendment of pleadings were

due by April 25, 2005.      The court noted: “The schedule will not

be changed except for good cause.”                (Paper 31).   Building One

moved, on October 19, 2005, for leave to file a third-party

complaint against Kmart, based on information provided at a

deposition held September 6, 2005.                (Paper 62).    It contends

that, because the store had been open for a few hours at the

time Plaintiff fell, Kmart and not Defendants might be liable.

Building One also states that it “originally was believed that

Kmart was judgment proof.”        Kmart, but not the other parties,

opposes this motion.

II.   Analysis

      Building   One’s   motion   to       file    a   third-party   complaint

against Kmart triggers Fed.R.Civ.P. 14(a) governing third-party

complaints, Fed.R.Civ.P. 15(a) governing amendment of pleadings,


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and Fed.R.Civ.P. 16(b) governing modification of a scheduling

order.     Fed.R.Civ.P. 15(a) provides that leave to amend “shall

be freely given when justice so requires.”               When a defendant

seeks to amend its pleadings to assert a third-party claim,

Fed.R.Civ.P. 14(a) is also implicated.          Pursuant to Fed.R.Civ.P.

14(a), a defendant, as a third-party plaintiff, may bring suit

against another party “who is or may be liable to the third-

party plaintiff for all or part of the plaintiff’s claim against

the third-party plaintiff.”         If the third-party plaintiff files

the third-party complaint more than ten days after serving the

original answer, leave of the court must be obtained.             The court

may exercise its discretion in determining whether or not to

grant leave.      DTM Research, L.L.C. v. AT & T Corp., 179 F.R.D.

161, 162 (D.Md. 1998).        “In exercising this discretion, courts

balance ‘the elimination of delay and circuity, against the

danger of prejudice to the plaintiff.’”            Id. (quoting Hicks v.

Long Island R.R., 165 F.R.D. 377 (E.D.N.Y. 1996).                    In   DTM

Research, L.L.C., the court noted that “where the addition of a

third-party defendant would cause undue delay or complication in

the trial of the underlying case, such impleader will not be

allowed.”     179 F.R.D. at 162.

    Fed.R.Civ.P. 16(b) governs the modification of a scheduling

order.     The rule states that a scheduling order “shall not be

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modified except upon a showing of good cause and by leave of the

district judge.”     As this court has noted, Rule 16(b)’s “good

cause” standard governs motions to amend pleadings filed after

scheduling order deadlines.         CompuSpa, Inc. v. Inter’l Bus.

Machs. Corp., No. Civ.A.DKC 2002-0507, 2004 WL 1459272, at *1-2

(D.Md. June 29, 2004).      See also O’Connell v. Hyatt Hotels of

Puerto Rico, 357 F.3d 152, 154-55 (1st Cir. 2004).             Likewise,

Rule 16(b) would govern where a defendant seeks to modify the

scheduling order and amend the pleadings to join an additional

party and assert a third-party claim.         See Advisory Committee

Notes to the 1983 Amendments to Fed.R.Civ.P. 16(b) (stating that

the reason for limiting the period for amending the pleadings is

to assure “that at some point both the parties and the pleadings

will be fixed”).

    Building One seeks to join and assert a third-party claim

against Kmart.     The scheduling order unambiguously stated that

all motions for joinder of additional parties and amendment of

pleadings were due by April 25, 2005.           Accordingly, Building

One must first show “good cause.”          See Rassoull v. Maximus,

Inc., 209 F.R.D. 372, 373 (D.Md. 2002).        The good cause inquiry

primarily “focuses on the timeliness of the amendment and the

reasons for its tardy submission” and in particular, on “the

diligence of the movant.”      Id. at 374.

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    Building One’s justification is that new information was

provided at a deposition held September 6, 2005.           In its motion,

Building One states that because the store was open for a few

hours at the time Plaintiff fell, Kmart may be liable for

failing to maintain its store during business hours.               It also

states that it originally believed Kmart was judgment proof.3

Building One has failed to show good cause.4          The events leading

to this lawsuit occurred over four and a half years ago, and the

initial complaint was filed more than a year and a half ago.

Building One offers no reason why the “new evidence” regarding

Kmart’s potential liability surfaced only recently, including

why investigation on its part prior to the April 25, 2005,

deadline would not have revealed the time Plaintiff fell and the

store hours (i.e., to determine how long the store was open

before the fall and therefore whether Kmart could be liable).

Assuming Defendant contends that because of the deposition it

now “knows” something new about whether Kmart is judgment proof,

they offer no reason why diligent investigation would not have



    3  Building One states: “it is not known by counsel whether
this incident was discharged in bankruptcy, or whether Kmart has
applicable insurance. In any event, it makes sense for Kmart to
be joined in this lawsuit since the incident occurred during its
store during business hours.”
    4 In fact, Building One does not even address the good cause
standard of Rule 16(b), which governs its motion.

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revealed       this   information    earlier.        There   simply     is   no

indication that anything new was discovered in the September

deposition that could not have been known earlier, had Building

One    acted    diligently.     Moreover,       as   Kmart   notes    in     its

opposition       memorandum,   the     depositions      were   noticed        by

Plaintiff, and not by Building One.             As this court has noted:

           Lack of diligence and carelessness are
           “hallmarks of failure to meet the good cause
           standard.” West Virginia Housing Dev. Fund
           v. Ocwen Tech. Xchange, Inc., 200 F.R.D.
           564, 567 (S.D.W.Va. 2001). “[T]he focus of
           the inquiry is upon the moving party’s
           reasons for seeking modification.    If that
           party was not diligent, the inquiry should
           end.” Marcum [v. Zimmer], 163 F.R.D. [250,]
           254 [(S.D.W.Va. 1995)].

Rassoull v. Maximus, Inc., 209 F.R.D. 372, 374 (D.Md. 2002)

(emphasis in original).        Accordingly, Building One cannot show

good cause for its delay, and the court need not consider

whether the standards of Fed.R.Civ.P. 14(a) or 15(a) have been

met.    The motion for leave to file a third-party complaint will

be denied.       A separate Order will follow.




                                            /s/
                                     DEBORAH K. CHASANOW
                                     United States District Judge




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